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 1 Craig A. Hansen (SBN 209622)
    Email: craig@hansenlawfirm.net
 2 Stephen C. Holmes (SBN 200727)
    Email: steve@hansenlawfirm.net
 3 Sarah Wager (SBN 209277)
    Email: sarah@hansenlawfirm.net
 4 Philip E. Yeager (SBN 265939)
    Email: phil@hansenlawfirm.net
 5 Collin D. Greene (SBN 326548)
    Email: collin@hansenlawfirm.net
 6 HANSEN LAW FIRM, P.C.
   75 E. Santa Clara Street, Suite 1150
 7 San Jose, CA 95113-1837
   Telephone: (408) 715 7980
 8 Facsimile: (408) 715 7001

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10
                                 UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION

13
     YUTING CHEN,                              Case No.: 21-CV-09393-NC
14
                           Plaintiff,          NON-PARTY HANSEN LAW FIRM,
15                                             P.C.’S MOTION, UNDER LOCAL RULE
            v.                                 6, TO ENLARGE TIME TO RESPOND
16                                             TO DEFENDANTS’ MOTION FOR FEES,
   ARIEL ABITTAN, ABRAHAM ABITTAN,             COSTS, AND SANCTIONS
17 RACHEL ABITTAN, BRIAN ABITTAN,
   JACOB ABITTAN, ALYSSA ABITTAN,              Date:    May 31, 2023
18 ELIANA ABITTAN, ROY GRABER, TOVA            Time:    11.00 a.m.
   GRABER, REALTIME NY LLC, a New York         Place:   Courtroom 5
19 Limited Liability Company, and DOES 1-20,   Judge:   Hon. Nathaniel Cousins
   inclusive.
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                        Defendants.
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     HANSEN LAW FIRM, P.C.’S MOTION TO
     ENLARGE TIME                                                 CASE NO.: 21-CV-09393-NC
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 1                    NOTICE OF MOTION AND MOTION TO ENLARGE TIME

 2          TO DEFENDANTS AND TO THEIR ATTORNEYS OF RECORD, AND TO PLAINTIFF

 3 AND HER MOST RECENT ATTORNEYS OF RECORD:

 4          PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 6(b)(1)(A) and Civil Local Rule 6-

 5 1(b), non-party the Hansen Law Firm, P.C. (“Hansen Law Firm”) will, and hereby does, move the

 6 Court for an order enlarging by 7 days (to June 2, 2023), Hansen Law Firm’s time to file an

 7 opposition to Defendants’ Motion for Sanctions, Fees, and Costs (“Sanctions Motion”), and to re-

 8 schedule the sanctions hearing set for May 31, 2023 to a date convenient to the Court and all

 9 participants.

10          This Motion is made because the Hansen Law Firm only received notice of and a copy of the

11 Sanctions Motion yesterday afternoon on Wednesday, May 17, 2023, from Counsel for Defendants,

12 even though the Sanctions Motion was apparently filed on Monday, May 15, 2023.

13          According to the Court’s Order of May 10, 2023 (ECF No. 99) extending time for filing of

14 Defendants’ Sanctions Motion to May 15, 2023, which was not served upon or notified to the

15 Hansen Law Firm, oppositions are due on May 26, 2023, which gives Hansen Law Firm only

16 9 calendar days (7 working days) in which to respond. The hearing date was apparently previously

17 set for May 31, 2023 at 11:00 a.m., which date and time were also not previously noticed to the

18 Hansen Law Firm.

19          This Motion is made pursuant to Fed. R. Civ. P. 6(b)(1)(A) and Civil Local Rule 6-1(b) on

20 the grounds that good cause exists for the requested extension of time, which is made before the

21 currently set deadlines have passed and thirteen (13) days before the scheduled hearing. This

22 Motion is based on this Notice of Motion and Motion, the Memorandum of Points and Authorities,

23 the declaration of Philip Yeager, submitted herewith, the pleadings and papers on file in this action,

24 any matters upon which the Court may take judicial notice, the arguments of counsel, and any other

25 matter the Court may properly consider.

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     HANSEN LAW FIRM, P.C.’S MOTION TO
     ENLARGE TIME                                  –1–                        CASE NO.: 21-CV-09393-NC
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 1
      DATED: May 18, 2023              Respectfully submitted,
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                                       HANSEN LAW FIRM, P.C.
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                                       By:        /s/ Philip E. Yeager
 4                                           Philip E. Yeager
                                             HANSEN LAW FIRM, P.C.
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     HANSEN LAW FIRM’S MOTION TO
     ENLARGE TIME                        –2–                      CASE NO.: 21-CV-09393-NC
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                       I.      INTRODUCTION

 3          Pursuant to Civil Local Rule 6-1(b), the Hansen Law Firm, P.C. (“Hansen Law Firm”),

 4 former attorneys for Plaintiff Ms. Yuting Chen in this now dismissed action, respectfully request an

 5 order enlarging, by 7 days, their time to file an opposition to Defendants’ Motion for Sanctions,

 6 Fees, and Costs (“Sanctions Motion”) and rescheduling the May 31, 2023 hearing on the Sanctions

 7 Motion. Hansen Law Firm’s request is made as soon as possible given that notice was only provided

 8 yesterday afternoon, and more than seven (7) days before Hansen Law Firm’s opposition is due and

 9 thirteen (13) days before the hearing date of May 31, 2023.

10          Hansen Law Firm intends to vigorously oppose Defendants’ Sanctions Motion which seeks

11 over $136,000 in sanctions, fees and costs, and consists of a 25 page brief and over 800 pages

12 submitted by Defendants in support. Ordinarily, an opposition to a motion must be filed within 14

13 days of filing (Civ. L.R. 7-3). Here, however, Hansen Law Firm only learned about the Sanctions

14 Motion yesterday afternoon, a mere 9 calendar days from the opposition due date. In view of

15 Hansen Law Firm’s existing commitments and schedules and, given the nature of the motion, the

16 size of the sanctions sought by Defendants, and the volume of material in the Sanctions Motion that

17 will need to be reviewed and considered, a short extension of 7 days is respectfully requested.

18          Hansen Law Firm’s request is supported by good cause and will not prejudice any

19 participants involved in this matter.

20                              II.           FACTUAL BACKGROUND

21          Hansen Law Firm ceased representing Plaintiff Ms. Yuting Chen in this matter on December

22 19, 2022 pursuant to the Court’s Order Vacating Hearing on Notice of Withdrawal of Counsel

23 Hansen Law Firm; Approving Change in Counsel (ECF No. 63). Since then Hansen Law Firm has

24 received no information, notices or service of papers relating to the prosecution or dismissal of this

25 case.

26          Without any prior notice or warning, yesterday, in the afternoon, Hansen Law Firm received

27 an email from Defendants’ counsel that “[a]ttached for service” Defendants’ Sanctions Motion and

28 other documents. Yeager Decl. Ex. A. The documents were so voluminous that a download link

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 1 was provided rather than in fact attaching them to the email. (Id.)

 2          Although the case was voluntarily dismissed by Plaintiff Chen, advised by her then-current

 3 counsel, at a hearing on April 26, 2023, and a hearing date for a motion for fees, costs and sanctions

 4 by Defendants was set for May 31, 2023, this was never communicated to Hansen Law Firm until

 5 yesterday afternoon. Indeed, no one on behalf of either the Plaintiff or the Defendants, including

 6 their respective counsel, ever reached out to Hansen Law Firm to inquire about a briefing schedule

 7 or their availability for a hearing on May 31, 2023 regarding any motion, let alone a motion for

 8 sizeable sanctions, fees, and costs, relating to Hansen Law Firm or this case. (Yeager Decl. ¶ 4.)

 9          Hansen Law Firm was also never informed until yesterday of the hearing on April 26, 2023

10 when a sanctions motion was discussed, nor of the actual dismissal of this case. (Yeager Decl. ¶ 5.)

11          Hansen Law Firm was also never informed until yesterday that Defendants had sought and

12 were granted an extension of time to file their Sanctions Motion due to their counsel’s pre-existing

13 obligations and conflicting deadlines in other cases. (Yeager Decl. ¶ 6.)

14          Hansen Law Firm intends to vigorously oppose Defendants’ Sanctions Motion as it relates to

15 the Hansen Law Firm, which seeks over $136,000 in sanctions, fees and costs, and consists of a 25

16 page brief and over 800 pages submitted by Defendants in support (see ECF Nos. 101, 101-1, 102,

17 102-1, 102-2, 102-3, 102-4, 102-5, 102-6, 102-7, 102-8, 102-9, 102-10, 102-11, 102-12, 102-13,

18 102-14, 102-15, 102-16, 102-17, 102-18, 102-19, 102-20). (Yeager Decl. ¶ 7.)

19          Hansen Law Firm has existing commitments and deadlines in other matters prior to May 26,

20 2023, including that the firm’s lead counsel and managing attorney, Craig Hansen, is scheduled to be

21 in trial in Santa Clara Superior Court all next week. This will make reviewing the Sanctions Motion

22 and all the supporting materials and preparing an opposition brief by May 26 exceedingly difficult,

23 especially because there was no notice or warning to Hansen Law Firm that this Sanctions Motion

24 was even being filed until it was served electronically yesterday afternoon. (Yeager Decl. ¶ 8.)

25          Hansen Law Firm reached out to Defendants’ counsel, to Plaintiff Ms. Yuting Chen, and to

26 the most recent counsel for Plaintiff to seek their agreement by close of business today to Hansen
27 Law Firm’s requested 7 day extension and to re-schedule the May 31 hearing. Defendants’ counsel

28 responded stating that they would not oppose “a reasonable request for an extension, but we also

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 1 won’t stipulate given the Court’s denial of our previous motion requesting to move the hearing date

 2 back one week.” No one else responded to Hansen Law Firm’s inquiry before close of business.

 3 (Yeager Decl. ¶ 9, Ex. B.)

 4                                       III.   ARGUMENT

 5          Pursuant to Fed. R. Civ, P. 6(b)(1)(A) and Civil Local Rule 6-1(b), the Court may grant an

 6 extension of time to file Hansen Law Firm’s opposition to Defendants’ Sanction Motion. See

 7 Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1255 (9th Cir. 2010) (reversing trial court’s

 8 denial of a one-week extension and finding good cause where the original briefing schedule was

 9 short, the filing was complex, and counsel had pre-existing commitments). The Federal Rules of

10 Civil Procedure require parties to file a motion to enlarge time before the original time to file expires

11 (Fed. R. Civ. P. 6(b)(1)(A)) or “on motion made after the time has expired if the party failed to act

12 because of excusable neglect” (Fed. R. Civ. P. 6(b)(1)(B)). In addition, Civil Local Rule 6-1 states

13 that a “stipulated request or motion which affects a hearing or proceeding on the Court’s calendar

14 must be filed no later than 14 days before the scheduled event.” (Civ. L.R. 6-1(b).)

15          Here, Hansen Law Firm only received notice of the Sanctions Motion, the expedited briefing

16 schedule (including Defendants’ successful request for an extension of time), and the sanctions

17 hearing date of May 31, 2023 yesterday. The Sanctions Motion was not served upon (or noticed to)

18 Hansen Law Firm until yesterday, Wednesday, May 17, even though it was filed through the ECF

19 system on Monday, May 15.

20          Hansen Law Firm intends to vigorously oppose Defendants’ Sanctions Motion as it relates to

21 Hansen Law Firm, which seeks over $136,000 in sanctions, fees and costs, and consists of a 25 page

22 brief and over 800 pages submitted by Defendants in support. Hansen Law Firm has not been

23 involved in this action since December 2022. This is a very serious matter and Hansen Law Firm

24 will need adequate time to review and respond to the allegations made by Defendants, which are

25 currently set on an expedited briefing and hearing schedule. It was contemplated by Defendants and

26 their counsel as early as April 26, 2023 to file a motion for sanctions, fees and costs, but they never
27 informed Hansen Law Firm of that possibility. Ordinarily, oppositions to motions are required to be

28 filed 14 days after filing. (Civil L.R. 7-3(a).) Here, however, for a vigorously disputed sanctions

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 1 motion, Hansen Law Firm only has 9 calendar days (7 working days) to respond by the current

 2 May 26 deadline. Moreover, Defendants requested and received a 7 day extension to file their

 3 Sanctions Motion (giving them 19 days to file the Sanctions Motion), again without informing

 4 Hansen Law Firm. In a matter as serious as this, concerning a request to award substantial sanctions,

 5 which will be vigorously disputed, Hansen Law Firm respectfully requests adequate time to respond.

 6          Hansen Law Firm’s opposition is currently due next week on May 26, which is more than 7

 7 days from today’s extension request. However, the hearing date is only 13 days from today. Hansen

 8 Law Firm is submitting this extension request as soon as practicable, even though it is one day

 9 shorter than the 14-days ordinarily required before the set hearing date of May 31.

10          In addition, Hansen Law Firm has existing commitments and deadlines in other matters prior

11 to May 26, 2023, including that the firm’s lead counsel and managing attorney, Craig Hansen, is

12 scheduled to be in trial in Santa Clara Superior Court all next week. This will make reviewing the

13 Sanctions Motion and all the supporting materials and preparing an opposition brief by May 26

14 exceedingly difficult, especially because there was no notice or warning to Hansen Law Firm that

15 this Sanctions Motion was even being filed until it was served electronically yesterday afternoon.

16          Hansen Law Firm respectfully submits that there is good cause to extend the opposition date

17 by 7 days to June 2, 2023, and to reschedule the hearing from May 31, 2023 to the soonest date

18 thereafter convenient to the Court and all participants. Hansen Law Firm will work diligently with

19 the Court and all participants to agree on a mutually convenient hearing date.

20                                        IV.    CONCLUSION

21          Hansen Law Firm respectfully requests that the Court grant this Motion and extend the due

22 date for Hansen Law Firm’s opposition to the Sanctions Motion by 7 days to June 2, 2023, vacate

23 the May 31 hearing date and re-schedule the hearing on the Sanctions Motion on a date convenient

24 to the Court and all participants.

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     HANSEN LAW FIRM’S MOTION TO
     ENLARGE TIME                                 –4–                        CASE NO.: 21-CV-09393-NC
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 1
      DATED: May 18, 2023              Respectfully submitted,
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                                       HANSEN LAW FIRM, P.C.
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                                       By:        /s/ Philip E. Yeager
 4                                           Philip E. Yeager
                                             HANSEN LAW FIRM, P.C.
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     HANSEN LAW FIRM’S MOTION TO
     ENLARGE TIME                        –5–                      CASE NO.: 21-CV-09393-NC
